Case 2:05-cv-02326-SHI\/|-dkv Document 6 Filed 09/01/05 Page 1 of 2 Page|D 7

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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v. cv. No. 05-2326-Ma

METHODI ST ,

Defendant .

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
without prejudice, in accordance with the Order of IMsmissal,
docketed August 30, 2005.

APPROYD :/ ‘

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 6 in
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O'Neal Dandridge
3120 Alta Road
i\/lemphis7 TN 3 8109

Honorable Samuel Mays
US DISTRICT COURT

